                                      Case 2:21-cv-06941-PA-AGR Document 20 Filed 10/19/21 Page 1 of 2 Page ID #:68
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                                 8                             UNITED STATES DISTRICT COURT
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                                                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                 11     PORTIA MASON, individually and           CASE NO.: 2:21-cv-06941-PA-AGR
                                 12     on behalf of all others similarly
                                        situated,
                                                                                 Honorable Judge Percy Anderson
3055 Wilshire Blvd, 12th Floor




                                 13
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                                                                 Courtroom 9A 9th Floor
                                 14                           Plaintiff,         ORDER RE
                                                                                 REQUEST FOR DISMISSAL PURSUANT
                                 15           v.                                 TO F.R.C.P. RULE 41(a); [PROPOSED]
                                                                                 ORDER
                                 16
                                        AMERICAN FREIGHT, LLC, a
                                 17     Delaware limited liability company;
                                 18     and DOES 1 to 10, inclusive,

                                 19
                                 20                          Defendants.

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                                               REQUEST FOR DISMISSAL PURSUANT TO F.R.C.P. RULE 41(a); [PROPOSED] ORDER
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                                 1             IT IS HEREBY ORDERED THAT, good cause showing, Plaintiff Portia Mason’s

                                 2      request that this Court enter a dismissal with prejudice as to Plaintiff’s claims in their entirety is

                                 3      GRANTED in full. Each party shall bear her or its own costs, experts’ fees, and attorneys’

                                 4      expenses.

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                                        DATED: October 19, 2021
                                 6
                                                                                                         Percy Anderson
                                 7                                                                  United States District Judge

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3055 Wilshire Blvd, 12th Floor




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 WILSHIRE LAW FIRM, PLC




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                                                     JOINT STIPULATION OF DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
                                                                  PURSUANT TO F.R.C.P. RULE 41(a)(1)(A)(ii)
